                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLANIA

IN RE:                                              Chapter 7

Lori Neeb,                                          Case No. 5:24-bk-1501
                            Debtor.



                       CERTIFICATION REGARDING TAX RETURNS
                          NOT BEING REQUIRED FOR DEBTOR

         I, Lori Neeb, am the debtor in the above-captioned matter. I hereby certify that I am not

required to file tax returns, and that I have filed all previous tax returns that I was previously

required to file.

         I certify under penalty of perjury that the information provided in this certification is true

and correct to the best of my knowledge and belief.

Date: July 23, 2024                                             /s/ Lori Neeb
                                                                Lori Neeb
                                                                Debtor




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